                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

EMMANUEL CORNET, JUSTINE DE
CAIRES, GRAE KINDEL, ALEXIS
CAMACHO, JESSICA PAN, EMILY
KIM, MIGUEL BARRETO, and BRETT C.A. No. 1:23-cv-00441-TMH
MENZIES FOLKINS, on behalf of
themselves and all others similarly
situated,

                       Plaintiffs,

               v.

TWITTER, INC.

                           Defendant.


    PLAINTIFFS’ MOTION TO PROVISIONALLY SEAL NOTICE OF
     ADDITIONAL SUPPLEMENTAL AUTHORITY AND REPLY TO
   TWITTER’S RESPONSE TO PRIOR NOTICE OF SUPPLEMENTAL
          AUTHORITY AND ACCOMPANYING EXHIBITS


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Attorneys for Plaintiffs
      Pursuant to this Court’s Manuals on filing, including Electronic Filing Tips

for Attorneys and Electronic Filing of Sealed Civil Documents, Plaintiffs hereby

move to provisionally seal their Notice of Additional Supplemental Authority and

Reply to Twitter’s Response to Prior Notice of Supplemental Authority (the

“Notice and Reply”) (attached as Exhibit A) and accompanying exhibits (attached

hereto as Exhibits B-G respectively).

      The Notice and Reply (Exhibit A) informs the Court of four more arbitration

awards (Exhibits 1-4 to the Notice and Reply, attached hereto as Exhibits B-E) that

Plaintiffs’ counsel have obtained on behalf of former Twitter employees who

brought claims against Twitter in arbitration, provides context for those decisions,

and refutes the arguments that Twitter made with regard to Plaintiffs’ Notice of

Supplemental Authority of November 26, 2024 (Dkts. 98, 99). Exhibit 5 to the

Notice and Reply (attached hereto as Exhibit F) is a discovery letter submitted by

Twitter in an arbitration. Exhibit 6 to the Notice and Reply (attached hereto as

Exhibit G) is a copy of Twitter’s Notice of Supplemental Authority that it filed in

multiple proceedings with respect to one of the arbitration awards.

      Because Twitter takes the position that arbitration awards and filings are

confidential, Plaintiffs have filed the documents under seal.

      Plaintiffs therefore request leave to provisionally file Exhibits A-G under

seal. Because the arbitral awards contain some personally identifying information,



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if the Court is disinclined to permit the entirety of the documents to be filed under

seal, Plaintiffs respectfully request the opportunity to submit redacted versions

removing identifying information for the Claimants in those arbitrations.




Dated: January 8, 2025                  Respectfully submitted,

                                        EMMANUEL CORNET, JUSTINE DE
                                        CAIRES, GRAE KINDEL, ALEXIS
                                        CAMACHO, JESSICA PAN, EMILY KIM,
                                        MIGUEL BARRETO, and BRETT
                                        MENZIES FOLKINS, on behalf of
                                        themselves and all others similarly situated,

                                        By their attorneys,

                                         /s/ Kate Butler
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                         CERTIFICATE OF SERVICE

      I, Kate Butler, hereby certify that a true and accurate copy of the redacted

version of this document was served on all counsel of record for Defendant via

filing on the Court’s CM/ECF system and that Plaintiffs have served the sealed

version of this document on Defendant’s counsel via email on January 8, 2025.


                                       /s/ Kate Butler
                                       Kate Butler




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